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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


   NOVARTIS AG, NOVARTIS
   PHARMACEUTICALS CORPORATION,                 No. 25-CV-00849-EP-JRA
              Plaintiffs,
         v.
   NOVADOZ PHARMACEUTICALS LLC,
   MSN PHARMACEUTICALS INC., MSN
   LABORATORIES PRIVATE LIMITED,
              Defendants.


   DEFENDANTS’ REPLY MEMORANDUM OF LAW IN SUPPORT OF
   THEIR MOTION FOR A STAY OF INJUNCTION PENDING APPEAL
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        Defendants MSN Pharmaceuticals Inc., MSN Laboratories Private Limited,

  and Novadoz Pharmaceuticals LLC (collectively, “MSN”), respectfully submit this

  reply memorandum of law in further support of its Motion to Stay the Court’s

  Preliminary Injunction Order (“Order”) pending appeal.

                          PRELIMINARY STATEMENT

        MSN has demonstrated that this Court should grant a stay of its Order to

  preserve meaningful appellate review. MSN is likely to succeed in showing that the

  Court (i) erred in its consideration of the legal framework and evidence necessary to

  show irreparable harm, (ii) misapplied substantive trademark law on functionality

  and secondary meaning, and (iii) did not make a required determination that Novartis

  was likely to prevail on all four preliminary injunction factors.

        Novartis’s opposition asks the Court to ignore these errors and simply rubber

  stamp its prior decision. ECF 42 (“Stay Opp.”) at 9–10. But Novartis’s theory of

  “irreparable harm” lacked a proper evidentiary foundation and rested on mere

  generalities about its “good reputation” and non-specific observations that some

  generic drug manufacturers (not MSN) have experienced manufacturing defects. All

  of this is untethered to any cogent theory of real-world confusion among

  sophisticated prescribers, which is what trade dress law guards against.

        The remaining stay factors favor MSN. Novartis has not controverted this

  Court’s finding that the Order would irreparably harm MSN, including by causing
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  significant financial and developmental setbacks. Novartis’s speculation that

  MSN’s competitor Noratech is not poised to launch its drug is unsupported and

  contradicted by the record evidence. See Stay Opp. at 8–9. An injunction against

  MSN singles out MSN from all other generic competitors and threatens its first-

  mover advantage. And there is no reasonable dispute that the alleged harm to

  Novartis, should MSN launch its generic drug pending trial, would be compensable

  by monetary damages through a straightforward calculation of any lost profits. The

  balance of equities favors MSN because Novartis will incur minimal harm from a

  stay. Finally, the public interest favors a stay allowing MSN to market its affordable

  product.

        Novartis’s opposition portrays MSN’s stay motion as seeking to alter to the

  status quo.1 But the status quo is “the last uncontested status which preceded the

  pending controversy.” PTT, LLC v. Gimme Games, 2014 WL 5343304, at *5 (D.N.J.

  Oct. 20, 2014). The status quo that existed before this action was filed was this: (i)

  MSN had received FDA approval to launch its generic ahead of other generics; and

  (ii) Novartis had never asserted its supposed “trade dress” rights in the three colors,


  1
   Novartis also characterizes a stay as “extraordinary” and “disrupt[ive]” relief, Stay
  Opp. at 1, but district courts in multiple circuits have stayed preliminary injunctions
  where “equity tips in the defendants’ favor.” Celgard, LLC v. LG Chem Am., Inc.,
  2014 WL 12479436, at *1 (W.D.N.C. July 22, 2014); see also, e.g., Illumina, Inc. v.
  BGI Genomics Co., 2020 WL 4601625, at *2–3 (N.D. Cal. Aug. 11, 2020); Masters
  Software, Inc. v. Discovery Commc’ns, Inc., 2010 WL 11692803, at *4–5 (W.D.
  Wash. Aug. 13, 2010). This Court should do the same.

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  three sizes, and oval shape of its Entresto tablets and thus threatened to nullify

  MSN’s years of investment and efforts to launch the first generic. 2

                                    ARGUMENT

  I.    MSN Is Likely to Succeed on the Merits of Its Appeal.
        MSN is likely to succeed in showing that the Court erred both in its analysis

  of irreparable harm and in its analysis of Novartis’s trade dress theory.

        A.    Novartis Failed to Demonstrate Irreparable Harm.
              1. The Court Applied the Wrong Legal Framework to Assess
                 Irreparable Harm.

        Novartis does not dispute that the Court applied the wrong legal framework

  to assess irreparable harm. And contrary to Novartis’s contention, application of

  this erroneous standard did not favor MSN but instead distorted the Court’s analysis

  throughout. Because it sidestepped the statutory burden-shifting framework, the

  Court never evaluated the strength of Novartis’s evidence of reputational harm and

  never made any finding that such evidence was sufficient to demonstrate irreparable

  harm. In effect, the Court credited a theory of reputational harm untethered to the

  evidence and applied an irrebuttable presumption of harm applicable in any

  trademark case. See ECF 37-1 (“Mot.”) at 8–10. This contravenes Third Circuit law.

  See Nichino Am., Inc. v. Valent U.S.A. LLC, 44 F.4th 180, 184–87 (3d Cir. 2022).



  2
    MSN anticipates that the Delaware court will promptly lift its injunction, making
  a stay even more essential here so that MSN can seek meaningful appellate relief.

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               2. MSN Rebutted Any Presumption of Harm.
        As MSN’s moving papers explained, Third Circuit law instructs that the

  statutory presumption is rebutted upon a “slight evidentiary showing” that

  irreparable harm is unlikely. Nichino, 44 F.4th at 186. Even if Novartis were entitled

  to the presumption (and it was not, because it did not show a likelihood of success

  on the merits), MSN offered more than enough evidence to rebut the presumption.

  MSN demonstrated that Novartis’s egregious delay of four years (or five months at

  minimum) rebutted the presumption of harm. See ECF 13 (“PI Opp.”) at 33–35;

  Mot. at 8–9, 15–17. And MSN offered evidence that highly sophisticated healthcare

  professionals were unlikely to confuse the products. See PI Opp. at 24. This was

  sufficient to rebut the presumption.

        Unable to address these arguments head on, Novartis urges the Court to ignore

  them because they are purportedly “new.” Stay Opp. at 10, 19, 22–23.3 But MSN

  is arguing nothing new. MSN has argued throughout this case that there is

  insufficient evidence of irreparable harm. In its motion for a stay, MSN contends

  that the Court’s finding of irreparable harm cannot be reconciled with the Court’s


  3
   At the same time, Novartis seeks to have it both ways: Novartis repeatedly claims
  that the Court should disregard arguments MSN did previously raise because they
  are impermissible attempts to relitigate the preliminary injunction. See Stay Opp. at
  1. This makes no sense. In its stay motion, MSN must demonstrate that it is likely
  to succeed on its appeal, and the arguments MSN will raise in its appeal are
  necessarily those that it raised and preserved in the initial preliminary injunction
  briefing.

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  finding that “the relevant market consists primarily of medical professionals, not

  consumers.” Mot. at 9; see also ECF 32 (“Op.”) at 14. MSN is entitled to point out

  on appeal that the Court’s own findings establish that Novartis’s theory is

  speculative and implausible.

        Similarly, Novartis’s contention that MSN raised “new” arguments regarding

  Novartis’s delay is belied by the record. MSN raised the issue of Novartis’s prior

  knowledge in its opposition to Novartis’s motion. See PI Opp. at 34; ECF 13-9 ¶¶

  5–6, 9 & Exs. 3, 5. MSN did so because Novartis, in its initial submission,

  inaccurately claimed that it first obtained actual knowledge of the appearance of

  MSN’s pills in August 2024. See ECF 4-1 (“PI Mot.”) at 11 n.11; ECF 4-6 ¶ 10.

  When MSN called Novartis out, Novartis then changed course and argued for the

  first time in its reply that its hands were tied by the protective order. See ECF 17.

        Nor were Novartis’s hands actually tied. A protective order does not excuse

  complete inaction in response to facts purportedly giving rise to a claim. See

  Cambridge Literary Props., Ltd. v. W. Goebel Porzellanfabrik G.m.b.H. & Co. Kg.,

  448 F. Supp. 2d 244, 264–65 (D. Mass. 2006), aff’d, 510 F.3d 77 (1st Cir. 2007).

  As in Cambridge, Novartis could have sought relief from the protective order. 4


  4
    Novartis’s attempt to distinguish this case is highly unpersuasive. See Stay Opp.
  at 19–20. That Novartis is represented by different counsel of record in this case
  and in the patent litigation is irrelevant, because the protective order gave Novartis’s
  in-house counsel access to the information at issue. And it is simply not true that, in


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      Even if Novartis’s hands were tied by the protective order, it is undisputed

that Novartis waited five months to sue after it was free from any constraint

purportedly imposed by the protective order. That delay was inexcusable. Novartis

cannot justify its five-month delay after reviewing public images of MSN’s pills

with no confidentiality restrictions by relying on inapposite cases involving a party’s

“good faith efforts to investigate” the claim. Stay Opp. at 21. In all of Novartis’s

cited cases, the plaintiff took some steps to identify or address the infringement. See

Novartis Consumer Health, Inc. v. Johnson & Johnson-Merck Consumer Pharms.

Co., 129 F. Supp. 2d 351, 368 (D.N.J. 2000) (plaintiff “promptly” challenged

advertisements and commissioned survey); Sunquest Info. Sys., Inc. v. Park City

Sols., Inc., 130 F. Supp. 2d 680, 698 (W.D. Pa. 2000) (plaintiff “immediately” hired

legal counsel to investigate extent of defendant’s willful use); Fisher-Price, Inc. v.

Well-Made Toy Mfg. Corp., 25 F.3d 119, 125 (2d Cir. 1994) (plaintiff commenced

months-long search for infringing product and sued “less than two weeks” after

securing and obtaining infringing product). Here, Novartis did nothing for five

months. That inexcusable delay rebuts any presumption of irreparable harm.

             3. Novartis’s Claimed Harm Is Speculative and Reparable.



Cambridge, the plaintiff had sufficient other facts in hand to assert its claim in a
timely fashion. Rather, the court faulted the plaintiff for failing “to seek to obtain
the same information . . . from other sources, such as depositions or letter
rogatories.” 448 F. Supp. 2d at 264. Novartis similarly failed to do so here.

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      Novartis needed to provide evidence demonstrating that irreparable harm was

not merely possible but likely. See Mot. at 9–10. Considering itself bound by a

“theory,” the Court erred by failing to meaningfully review the evidence. See id.

      Novartis’s brief makes it abundantly clear that there is no non-speculative

basis for finding irreparable harm here. Novartis’s evidence consists entirely of

general statements that (1) Novartis has a good reputation, (2) “medical

professionals . . . can inadvertently confuse the MSN Drug and ENTRESTO,” and

(3) generic medicines “may not” always result in the same clinical outcomes as their

branded counterparts and “can” have different negative side effects (even though

upon approval, generic drugs are deemed bioequivalent to the brand drug product).

Stay Opp. at 13–14 (emphasis added). This is a far cry from proving a risk of harm

tied to MSN’s product specifically, let alone one that is “more likely than not” to

arise “while proceedings are pending.” 5 Delaware State Sportsmen’s Ass’n, Inc. v.

Delaware Dep’t of Safety & Homeland Sec., 108 F.4th 194, 204 (3d Cir. 2024). 6


5
  MSN is not arguing for a standard that would require trademark owners to wait for
irreparable harm to occur before seeking relief. See Stay Opp. at 13. Novartis failed
to meet its burden because it presented no evidence of imminent harm on the facts
of this case. This is unlike AstraZeneca where the defendant had launched a second
wave generic with an aggressive advertising campaign intended to cause confusion
with AstraZeneca’s registrations for the color purple. See Astrazeneca AB v. Camber
Pharms., Inc., 2015 WL 7307101, at *5 (D. Del. Nov. 19, 2015).
6
  By contrast, each of Novartis’s cited cases involved actual record evidence of harm.
OTR Wheel Eng’g, Inc. v. W. Worldwide Servs., Inc., 602 F. App’x 669, 672 (9th
Cir. 2015) (acknowledging that “the court’s finding of goodwill injury was


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      Indeed, Novartis fails to explain how any reputational harm could actually

arise in real life. It does not explain why any doctor, knowing a patient had received

MSN’s generic drug, would irrationally blame Entresto for the patient’s adverse

health reaction simply because the doctor at some point saw images of MSN’s pills

on Drugs.com that look similar to Entresto. See Mot. at 13.

      Finally, Novartis continues to miss the point about the import of Becerra. The

factual theory of harm that Becerra rejected—that patients will be harmed by the

dosing information on MSN’s label—is exactly the same as the one Novartis

advances here. The Becerra court endorsed FDA’s rejection of that theory, “set forth

in 10-pages of highly technical analysis,” Novartis Pharms. Corp. v. Becerra, 2024

WL 3823270, at *6 (D.D.C. Aug. 13, 2024), and the Court here, in turn, endorsed

Becerra as “well-reasoned,” Op. at 17. Novartis provides no new evidence here that

would warrant revisiting Becerra’s factual analysis and conclusions.

      B.     Novartis Failed to Demonstrate Likelihood of Success on its Trade
             Dress Claim.
             1. The Court’s Nonfunctionality Finding was Based on an Error of
                Law.
      The Court’s holding on functionality will likely be reversed on appeal because



supported by some record evidence”); Groupe SEB USA, Inc. v. Euro-Pro Operating
LLC, 774 F.3d 192, 205 (3d Cir. 2014) (characterizing “literally false,
unsubstantiated comparative claims” as the “most important[]” record evidence
supporting finding of likely irreparable harm); MarbleLife, Inc. v. Stone Resources,
Inc., 759 F. Supp. 2d 552, 562–63 (E.D. Pa. 2010) (relying on witness testimony).

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it is directly contrary to the governing legal standard. The Court found that

Entresto’s appearance “has an element of functionality” because it “serve[s] as [a]

useful visual cue[] for patients, particularly more vulnerable populations such as the

elderly or others with comorbidities,” and particularly because the drug is “to be

taken in seeming perpetuity.” Op. at 9. But the Court nevertheless held that the

Entresto trade dress was likely nonfunctional because, “[s]imply put, MSN could

have just picked different colors. Or different shapes. Or different sizes.” Id. This

directly contravened controlling Third Circuit precedent holding that, to be

functional, a product feature “need only be useful, not essential,” and that a useful

product feature is functional “even when there are alternatives.” Ezaki Glico

Kabushiki Kaisha v. Lotte Int’l Am. Corp., 986 F.3d 250, 258, 260 (3d Cir. 2021).

      Unable to cure this straightforward error, Novartis ties itself into knots

attempting to rewrite the Court’s decision. Novartis claims, for example, that the

Court’s finding was not about Entresto but simply a “generalized statement about

medications.” See Stay Opp. at 26–27. But the Court’s reference to a drug “to be

taken in seeming perpetuity” by “the elderly or others with comorbidities” clearly

describes Entresto. Op. at 9. Indeed, the Court’s statement directly follows a lengthy

description of the evidentiary record in this case about Entresto. See Op. at 7–9. 7



7
 The Court did not credit the position that drug shape and color only help “identify
the brand of a prescribed medication.” Stay Opp. at 26 (citing Op. at 7–8).

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      Novartis also claims the purported availability of alternatives was somehow

not the basis for the Court’s ruling. See Stay Opp. at 24–25. But Novartis points to

no other evidence that could have supported a finding of nonfunctionality.

Novartis’s ipse dixit that the Entresto trade dress “lack[s] functionality” and does

“not confer an ‘edge in usefulness,’” id. at 25, cannot justify the Court’s holding.

      Novartis’s attempt to justify the Court’s failure to apply Shire US Inc. v. Barr

Lab’ys, Inc., 329 F.3d 348 (3d Cir. 2003) also fails. The Court found that pill

appearance “serve[s] as [a] useful visual cue[]” for the populations that take

Entresto, Op. at 9, just as the Court in Shire did for populations that take Adderall.

That Adderall patients and Entresto patients rely on visual cues for different reasons

is irrelevant—in either case, the visual cues are “useful” to patients. And because

Entresto patients are exposed to multiple dosages when they progress from a lower

dose to a higher one (and sometimes back down to a lower dose), color-coding

provides a functional benefit even if they are not taking different doses in one day.8

      The Court also erred in failing to address the unrebutted evidence

demonstrating the functionality of pill sizes and shapes. Novartis’s response that



8
  Novartis’s reliance on Qualitex Co. v. Jacobson Products Co., 514 U.S. 159
(1995), is misplaced. In Qualitex, the functional benefit of avoiding noticeable
stains could be achieved by using any color. Here, by contrast, as a generic provider,
MSN could achieve the functional benefit of helping existing Entresto patients
identify the correct drug only by using colors similar to those Entresto patients had
become accustomed to.

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this evidence was about MSN’s pills rather than Entresto, see Stay Opp. at 28–29,

ignores that the burden was on Novartis to provide evidence that Entresto pills’ oval

shape and dosage sizes were nonfunctional. The Court cited no such evidence, nor

does Novartis in its filing. And in any event, evidence that MSN’s pill shape and

sizes are functional because they are easier to manufacture and swallow reasonably

raises the inference that the same is true of Entresto’s similar pill shape and sizes. 9

      Finally, Novartis’s efforts to minimize the Court’s error in ignoring key

evidence are unavailing. The Court never addressed the Shimer declaration

explaining FDA guidance that directs generic drugs to use similar sizes and shapes

as their branded counterparts. See Op.; ECF 13-46. And the Court never confronted

the anticompetitive consequences of its decision given evidence that every other

potential entrant in the generic Entresto market for which this information is publicly

available also modeled the appearance of its medication on that of Entresto. 10

Novartis’s unsupported speculation that “it is possible” other manufacturers “opted


9
  It is thus irrelevant that “a combination of functional and non-functional features
can be protected as trade dress.” Stay Opp. at 29. Here, every feature of Novartis’s
claimed trade dress—color, shape, and size—is functional.
10
   In trying to circumvent this evidence, Novartis simply confirms that MSN is in
the same position as those other generic manufacturers. For example, Novartis
makes much of the fact that two other manufacturers used “off white” or “light pink”
for the 24 mg/26 mg dose, instead of Entresto’s “violet white.” Stay Opp. at 31. But
MSN does not use “violet white” either: MSN uses a darker purple color (and a pill
size that is 25% smaller than Entresto’s). See ECF 13-7 (“Nithiyanandam Decl.”)
& Ex. 1. Torrent uses an oval shape for two of its three pills. See id. And Alembic’s
capsules are also oval and thus infringing under Novartis’s theory.

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for different” pill configurations is wishful thinking. Stay Opp. at 32.

             2. Novartis Failed to Meet Its Burden to Show Secondary
                Meaning.
      Novartis did not show that each of the three common colors and non-

distinctive ovaloid shape and sizes of Entresto tablets had come to be associated

exclusively with Novartis as a source identifier among any substantial portion of the

relevant consumer population. See Mot. at 22–24.

      First, regarding exclusivity of use, Novartis’s opposition distorts MSN’s

argument as claiming the Court should have evaluated “the entire pharmaceutical

market.” Stay Opp. at 33. This is a straw man. The Court erred by improperly

defining the relevant market to include only Entresto, thereby conflating the

exclusivity conferred by patent law with the exclusivity relevant for purposes of

secondary meaning. Mot at 24. This error led the Court to disregard the significant,

unrebutted evidence of widespread third-party use of the claimed trade dress features

for the very kinds of medications that consumers of Entresto would likely be exposed

to. Id. at 23. Novartis’s opposition is silent on these points. See Stay Opp. at 33.

      Second, Novartis fails to dispute that the Court committed clear error when it

found as factual matter that Novartis’s advertisements described the claimed trade

dress in words, i.e., directed the attention of the relevant consumers in text or spoken

words to the colors, sizes and shapes of Entresto, alone or in combination. Mot. at

25. No such evidence was presented to the Court. To the contrary, the advertising


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materials Novartis submitted showed the opposite. See ECF 4-44; ECF 4-58; ECF

4-59; ECF 4-78. The absence of relevant advertising favored MSN.

      Third, Novartis fails to dispute that the Court erred in relying on the

declaration of its paid expert, Dr. Nayeri, as support for a finding that the relevant

consumers associated the claimed trade dress with a single source. Mot. at 27–28;

Stay Opp. at 32–34. On this key factor—direct evidence of secondary meaning—

not a single piece of probative evidence was presented to the Court. Where a party

with ample financial resources like Novartis fails to present any consumer survey or

other direct evidence of secondary meaning, this weighs strongly against a finding

of secondary meaning. See King of Prussia Dental Assocs., Ltd. v. King of Prussia

Dental Care, LLC, 2019 WL 2240492, at *12 (E.D. Pa. May 23, 2019).

      Novartis fell far short of meeting its “formidable burden of proof” on this key

issue. 1 McCarthy on Trademarks and Unfair Competition § 8:8.50 (5th ed.). Its

pills are standard-issue oval tablets; the market is flooded with similar yellow, violet,

and pink colored tablets; there was no evidence that Novartis had ever considered

these colors to be proprietary (unlike AstraZeneca, which built an entire advertising

campaign around the “Purple Pill” and secured federal trademark registrations for

the color purple); the sizes of Entresto pills are utterly non-distinctive; and there was

no direct evidence of secondary meaning. The Court thus erred in holding that

Novartis demonstrated that it owned a valid and protectable trade dress.


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      C.     The Court Erred in Considering the Balance of the Hardships and
             the Public Interest Factors.
      A preliminary injunction requires all four factors to be satisfied. See Mot. at

30–31. The Court did not adequately analyze the balance of equities and public

interest. The Court recognized that there is actual evidence of substantial hardship

to MSN, including the loss of its first-mover advantage. Op. at 18. And it

recognized that there are “societal benefits of affordable alternatives to brand-name

drugs” and identified no public interest considerations favoring Novartis. Op. at 18.

      Even if the Court’s conclusion that MSN somehow brought the harm upon

itself was correct (and it is not, see Mot. at 29–30), the only reasonable interpretation

of the Court’s Order is that the public interest prong weighed against a preliminary

injunction. See Op. at 18. The Court never expressly found that Novartis wins on

all four factors, as this Circuit requires. See Mot. at 7.

II.   The Remaining Stay Factors are Satisfied.
      The Court should grant a stay because MSN will be irreparably harmed by the

Court’s injunction. The Court recognized that MSN will suffer substantial hardship

if enjoined. Op. at 18. Further, the record establishes that a preliminary injunction

causing a delay in MSN’s launch of its product will cause MSN to forfeit its first-

mover advantage and lose the millions it has invested in research and development,

as well as harm its reputation in the generic drug market. See Mot. at 32–33.

      Novartis effectively concedes the substantial hardship to MSN, including the


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loss of its first-mover advantage. See Stay Opp. at 35–36. Novartis’s speculation

that Noratech is not poised to launch its drug is without any support and contradicted

by the record evidence before the Court. See Stay Opp. at 8–9. And to the extent

that Novartis contends that Noratech would be similarly barred by the patent

injunction, that is wholly inconsistent with Novartis’s own position that the

proceedings later this month could remove any patent-related obstacles to any

generic’s launch. See Stay Opp. at 5. A months- or years-long injunction against

MSN pending final judgment in this case will thus have irreparable consequences,

whereas any losses to Novartis are reparable as a matter of law. 11

      The balance of equities favors a stay: MSN will be gravely harmed by the

injunction, whereas, as described above, Novartis’s harm is minimal and speculative.

Finally, the public interest favors a stay because it will allow MSN to market its

affordable, safe, FDA-approved generic product to consumers.

                                 CONCLUSION
      For the foregoing reasons, the Court should grant MSN’s motion.




11
   Novartis’s argument that a one-week administrative stay of the preliminary
injunction would be tantamount to total victory for MSN is nonsensical. See Stay
Opp. at 38–39. If the Third Circuit declines to extend the stay, MSN will have to
stop commercializing its product, and any lost sales suffered by Novartis in the one-
week interim are fully compensable through money damages.

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 Dated: April 7, 2025             Respectfully submitted,
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                       CERTIFICATE OF SERVICE

      I hereby certify that on this 7th day of March, 2025, I caused a copy of the

foregoing to be served upon all counsel of record via ECF notification.


                                                  /s/ Rebekah Conroy
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